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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cv-02720

Joseph Orr, Jr., et al. vy. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 1

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EXHIBIT 2

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EXHIBIT 3

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EXHIBIT 4

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EXHIBIT 5

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EXHIBIT 6

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EXHIBIT 7

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EXHIBIT 8

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EXHIBIT 9

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EXHIBIT 10

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EXHIBIT 11

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EXHIBIT 12

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EXHIBIT 13

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EXHIBIT 14

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EXHIBIT 15

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EXHIBIT 16

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EXHIBIT 17

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EXHIBIT 18

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